Case 1:21-cr-00399-RDM Document 158-2 Filed 08/07/23 Page 1 of 2




              Exhibit ‘B’
          Case 1:21-cr-00399-RDM Document 158-2 Filed 08/07/23 Page 2 of 2


Bitcoin History Closing Price Cumulative % Return Multiple Increase  # Bitcoin That
                Beg. Of Month To Present Day      How many X it grew $1,000 Bought
                (in US Dollars)                   From Day 1

        Jul-10       0.0055       554690809.09%                   1   181818.1818
       Jan-11         0.292        10447845.21%         53.09090909   3424.657534
        Jul-11          16.1         189390.68%         2927.272727   62.11180124
       Jan-12           4.72         646255.93%         858.1818182   211.8644068
        Jul-12          6.69         455923.92%         1216.363636   149.4768311
       Jan-13           13.5         225885.19%         2454.545455   74.07407407
        Jul-13            89          34178.65%         16181.81818   11.23595506
       Jan-14           732            4067.76%         133090.9091   1.366120219
        Jul-14          644            4637.27%         117090.9091   1.552795031
       Jan-15           321            9404.05%         58363.63636   3.115264798
        Jul-15          262           11544.27%         47636.36364   3.816793893
       Jan-16           430            6994.88%         78181.81818   2.325581395
        Jul-16          667            4473.91%         121272.7273   1.499250375
       Jan-17           966            3058.18%         175636.3636   1.035196687
        Jul-17        2,467            1136.64%         448545.4545   0.405350628
       Jan-18        13,803             121.02%         2509636.364   0.072448019
        Jul-18        6,406             376.24%         1164727.273   0.156103653
       Jan-19         3,697             725.21%         672181.8182   0.270489586
        Jul-19       10,729             184.35%         1950727.273   0.093205331
       Jan-20         7,161             326.03%             1302000   0.139645301
        Jul-20        9,140             233.79%         1661818.182    0.10940919
       Jan-21        28,955               5.36%         5264545.455    0.03453635
        Jul-21       35,031             -12.91%         6369272.727   0.028546145
       Jan-22        46,215             -33.99%         8402727.273   0.021637996
        Jul-22       19,950              52.92%         3627272.727   0.050125313
       Jan-23        17,313              76.21%         3147818.182   0.057760065
        Jul-23       30,508                   0         5546909.091   0.032778288
